      CASE 0:15-cr-00106-PJS-SER         Doc. 555     Filed 10/13/17    Page 1 of 8




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                           Case No. 15‐CR‐0106(6) (PJS/FLN)
                                                        Case No. 17‐CV‐0143 (PJS)
                      Plaintiff,

 v.                                                             ORDER

 PAUL ANTONIO EARLY,

                      Defendant.

       Thomas Calhoun‐Lopez, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Paul Antonio Early, pro se.

       This matter is before the Court on defendant Paul Antonio Early’s motion to

vacate, set aside, or correct his sentence under 28 U.S.C. § 2255. ECF No. 529. Early

contends that his sentence should be corrected because he was improperly classified as

a career offender under § 4B1.1 of the United States Sentencing Guidelines and because

his attorney provided ineffective assistance of counsel when he failed to object to that

classification. The Court disagrees and therefore denies Early’s § 2255 motion.

                                     I. BACKGROUND

       Early pleaded guilty to distributing cocaine base in violation of 21 U.S.C.

§ 841(a)(1) and (b)(1)(C). ECF No. 334. Early had prior felony convictions for second‐

degree assault with a dangerous weapon (in violation of Minn. Stat. § 609.222, subd. 1)

and first‐degree aggravated robbery (in violation of Minn. Stat. § 609.245, subd. 1). PSR
      CASE 0:15-cr-00106-PJS-SER          Doc. 555     Filed 10/13/17    Page 2 of 8




¶¶ 107, 110. The parties agreed that, for purposes of § 4B1.1, Early’s offense of

conviction was a “controlled substance offense” and each of his two prior felony

convictions was a “crime of violence.” Based on this conclusion, the parties agreed that

Early qualified as a career offender under § 4B1.1. Plea Agreement ¶ 5(c); PSR ¶ 63.

       The Court held a sentencing hearing on May 24, 2016. ECF No. 446. At that

hearing, the Court agreed that Early was a career offender and concluded that Early’s

total offense level was 29 (after applying a three‐level reduction for acceptance of

responsibility), that his criminal‐history category was VI (because of his career‐offender

status), and that his Guidelines range was 151 to 188 months. ECF No. 451 at 1. The

Court then varied downward and sentenced Early to 100 months in prison. ECF

No. 450. Early did not appeal. Eight months later, Early filed this § 2255 motion.

                                      II. ANALYSIS

       At the time that Early was sentenced, a felony conviction could qualify as a

“crime of violence” under any of three clauses of § 4B1.2. Under the force clause, an

offense was a crime of violence if it “ha[d] as an element the use, attempted use, or

threatened use of physical force against the person of another.” U.S.S.G. § 4B1.2(a)(1)

(2015). Under the enumerated‐offenses clause, an offense was a crime of violence if it was

“burglary of a dwelling, arson, or extortion, [or] involve[d] the use of explosives.” Id.

§ 4B1.2(a)(2). And under the residual clause, an offense was a crime of violence if it



                                            -2-
      CASE 0:15-cr-00106-PJS-SER          Doc. 555    Filed 10/13/17    Page 3 of 8




“otherwise involve[d] conduct that present[ed] a serious potential risk of physical

injury to another.”1 Id.

       Early argues that neither his conviction for second‐degree assault with a

dangerous weapon nor his conviction for first‐degree aggravated robbery qualified as

crimes of violence under the residual clause because the residual clause is

unconstitutionally vague under Johnson v. United States, 135 S. Ct. 2551 (2015).

Unfortunately for Early, however, the Supreme Court rejected his argument in Beckles v.

United States, 137 S. Ct. 886 (2017).

       Early also argues that, constitutional considerations aside, the Court simply erred

in finding that his prior convictions were crimes of violence for purposes of § 4B1.2, and

that his attorney provided ineffective assistance of counsel when he conceded that Early

was a career offender. But Early identifies no reason why his two convictions were not

crimes of violence under the residual clause of § 4B1.2. Early also identifies no reason

why his two convictions were not crimes of violence under the enumerated‐offenses

clause. At the time that Early was sentenced, the United States Sentencing Commission

had long interpreted the term “crime of violence” to include aggravated assault and

robbery; in fact, the Sentencing Commission identified both aggravated assault and



       1
       Section 4B1.2 was amended on August 1, 2016 (after Early was sentenced) to
eliminate the residual clause and increase the number of crimes listed in the
enumerated‐offenses clause.

                                            -3-
      CASE 0:15-cr-00106-PJS-SER           Doc. 555     Filed 10/13/17     Page 4 of 8




robbery as crimes of violence in an Application Note to § 4B1.2. See U.S.S.G. § 4B1.2,

cmt. n.1 (2015).2 The Eighth Circuit had also treated both aggravated assault3 and

robbery4 as enumerated crimes of violence for purposes of the Guidelines.


       2
        The Sentencing Commission amended the text of § 4B1.2 on August 1, 2016
(after Early was sentenced). As amended, § 4B1.2 of the Guidelines now lists robbery
directly in the guideline itself as one of several enumerated offenses that are considered
crimes of violence. The commentary accompanying this amendment made clear that
this was just a reorganization—and not a substantive change—of § 4B1.2. See
Supplement to the 2015 Guidelines Manual at 9 (stating that, even “prior to this
amendment,” robbery and ten other enumerated offenses were categorically crimes of
violence); id. at 11 (“For easier application, all enumerated offenses are now included in
the guideline at § 4B1.2; prior to the amendment, the list was set forth in both
§ 4B1.2(a)(2) and the commentary at Application Note 1.”). Essentially, the Sentencing
Commission took the list of enumerated offenses that had appeared in Application
Note 1 and moved most of those enumerated offenses into the text of § 4B1.2.
       3
        In United States v. Scharschell, 664 F. App’x 596, 599 (8th Cir. 2016), the Eighth
Circuit quoted with approval the following statement from United States v. Rodriguez,
664 F.3d 1032, 1038 (6th Cir. 2011): “Rodriguez’s conviction counts as a ‘crime of
violence’ because aggravated assault is one of the enumerated crimes of violence listed
in Application Note 1 to the career offender guideline and the offense requires knowing
and intentional conduct.” Likewise, in United States v. Quiroga, 554 F.3d 1150, 1158 (8th
Cir. 2009), the Eighth Circuit adopted the following statement from the district‐court
opinion: “Moreover, the application notes to U.S.S.G. § 4B1.2 expressly state that, for
purposes of the career offender guideline, ‘crime of violence’ includes, inter alia,
aggravated assault and forcible sex offenses. U.S.S.G. § 4B1.2, n. 1. Thus, there is no
doubt that Marcos‐Quiroga’s prior conviction for assault with intent to commit sexual
abuse . . . is a qualifying offense for career offender status under § 4B1.1.”
       4
        See United States v. Johnson, 411 F.3d 928, 931‐32 (8th Cir. 2005) (citing
Application Note 1 to find that robbery is categorically a crime of violence); see also
United States v. Patterson, 605 F. App’x 584, 585 (8th Cir. 2015) (per curiam) (same);
United States v. Jones, 384 F. App’x 542, 542 (8th Cir. 2010) (per curiam) (“The district
court correctly ruled that robbery is specifically included in the crimes of violence listed
                                                                                 (continued...)

                                              -4-
       CASE 0:15-cr-00106-PJS-SER           Doc. 555      Filed 10/13/17     Page 5 of 8




       In any event, both of Early’s convictions were crimes of violence under the force

clause of § 4B1.2. The Eighth Circuit has repeatedly held that a conviction for second‐

degree assault with a dangerous weapon under Minn. Stat. § 609.222, subd. 1, is a

“violent felony” under the force clause of the Armed Career Criminal Act (“ACCA”), 18

U.S.C. § 924(e)(2)(B)(i). See United States v. Headbird, 832 F.3d 844, 846‐47 (8th Cir. 2016);

United States v. Lindsey, 827 F.3d 733, 738‐40 (8th Cir. 2016); United States v. Harvey, 642

F. App’x 650 (8th Cir. 2016) (per curiam).5 The force clause of the ACCA is

substantively identical to the force clause of § 4B1.2, and the Eighth Circuit treats the




       4
        (...continued)
in U.S.S.G. § 4B1.2, comment (n. 1), and that a robbery specifically enumerated in
§ 4B1.2 is a crime of violence for career offender purposes. . . .”).

       In United States v. Bell, 840 F.3d 963, 967‐69 (8th Cir. 2016), the Eighth Circuit held
that robbery was not a crime of violence for purposes of § 4B1.2 by virtue of its
inclusion in Application Note 1. Crucially, however, the Eighth Circuit’s reasoning was
premised on its view that the residual clause of § 4B1.2 was unconstitutionally vague.
The Eighth Circuit essentially conceded that if § 4B1.2 contained a valid residual clause,
that “residual clause may have served as an anchor for the commentary’s inclusion of
‘robbery’ as a crime of violence . . . .” Id. at 968. In Beckles v. United States, 137 S. Ct. 886
(2017), the Supreme Court held that the residual clause—which was in effect at the time
that Early was sentenced—was not unconstitutionally vague. Thus, Bell does not call
into question the viability of prior Eighth Circuit cases holding that aggravated assault
and robbery were crimes of violence by virtue of their inclusion in Application Note 1
to § 4B1.2.
       5
       Both Headbird and Lindsey were decided after the Supreme Court issued its
decision in Mathis v. United States, 136 S. Ct. 2243 (2016), on which Early relies. In fact,
Headbird discussed Mathis at length.

                                               -5-
         CASE 0:15-cr-00106-PJS-SER        Doc. 555     Filed 10/13/17     Page 6 of 8




two clauses “as interchangeable.” United States v. Boose, 739 F.3d 1185, 1187 n.1 (8th Cir.

2014).

         Early’s conviction for first‐degree aggravated robbery under Minn. Stat.

§ 609.245, subd. 1, likewise qualified as a crime of violence under the force clause.

Under Minnesota law, simple robbery is a lesser‐included offense of first‐degree

aggravated robbery; in other words, one cannot commit first‐degree aggravated robbery

in violation of Minn. Stat. § 609.245, subd. 1, without committing simple robbery in

violation of Minn. Stat. § 609.24. See Minn. Stat. § 609.245, subd. 1 (“Whoever, while

committing a robbery, is armed with a dangerous weapon or any article used or fashioned

in a manner to lead the victim to reasonably believe it to be a dangerous weapon, or

inflicts bodily harm upon another, is guilty of aggravated robbery in the first degree

. . . .”) (emphasis added). Simple robbery in violation of Minn. Stat. § 609.24 is a crime

of violence under the force clause of the ACCA and hence under the force clause of

§ 4B1.2. See United States v. Jennings, 860 F.3d 450, 453‐57 (7th Cir. 2017); United States v.

Maxwell, 823 F.3d 1057, 1060‐62 (7th Cir. 2016); United States v. Willis, No. 11‐CR‐0013

(DSD/JJK), 2017 WL 1288362, at *3 & n.3 (D. Minn. Apr. 6, 2017); United States v. Pankey,

No. 07‐CR‐0214 (DWF/RLE), 2017 WL 1034581, at *3 n.2 (D. Minn. Mar. 16, 2017); United

States v. Taylor, No. 15‐CR‐0091 (JNE/LIB), 2017 WL 506253, at *3‐7 (D. Minn. Feb. 7,




                                              -6-
         CASE 0:15-cr-00106-PJS-SER            Doc. 555     Filed 10/13/17    Page 7 of 8




2017).6 Thus, first‐degree aggravated robbery is necessarily a crime of violence under

§ 4B1.2. See United States v. Rucker, 545 F. App’x 567, 573 (8th Cir. 2013) (“Rucker’s

aggravated robbery conviction meets the definition of a ‘violent felony’ under the

ACCA because it has as an element ‘threatened use of physical force’ against another

. . . .”).

             For these reasons, the Court finds that Early was properly classified as a career

offender, and that, in failing to argue otherwise, Early’s attorney did not provide

ineffective assistance of counsel.

                                               ORDER

             Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

             1.    Defendant’s motion to vacate, set aside, or correct his sentence under 28

                   U.S.C. § 2255 [ECF No. 529] is DENIED.




             6
        All of these cases—save Maxwell—were decided after the Supreme Court issued
its decision in Mathis.

       The Court acknowledges that it held that simple robbery was not a violent felony
for purposes of the ACCA in United States v. Pettis, No. 15‐CR‐0233 (PJS/FLN), 2016 WL
5107035, at *2‐3 (D. Minn. Sept. 19, 2016). The Court has since been persuaded by
Jennings and Taylor that it erred in Pettis. But because the issue remains debatable, the
Court will issue a certificate of appealability to Early so that he can pursue the issue on
appeal.

                                                  -7-
    CASE 0:15-cr-00106-PJS-SER         Doc. 555     Filed 10/13/17    Page 8 of 8




     2.    A certificate of appealability is granted on the following issue only: “Is

           simple robbery in violation of Minn. Stat. § 609.24 a ‘crime of violence’ for

           purposes of § 4B1.2 of the United States Sentencing Guidelines?”

     LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: October 13, 2017                     s/Patrick J. Schiltz
                                            Patrick J. Schiltz
                                            United States District Judge




                                         -8-
